HERBERT T. SHANNON, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  MORTON J. LUCHS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Shannon v. CommissionerDocket Nos. 31129, 31130.United States Board of Tax Appeals19 B.T.A. 640; 1930 BTA LEXIS 2360; April 21, 1930, Promulgated *2360 Laurence Graves, Esq., for the petitioners.  O. J. Tall, Esq., for the respondent.  BLACK *640  In these proceedings, which have been consolidated for hearing and decision, the respondent determined a deficiency of $5,144.40 as to Herbert T. Shannon and $5,047.74 as to Morton J. Luchs for the calendar year 1924, as a result of his refusal to allow a 25 per cent reduction under Title XII of the Revenue Act of 1924 of such portion of each of the petitioners' income as was derived from the proportionate earnings of a partnership of which each petitioner was a member, which partnership had a fiscal year ending in 1924.  FINDINGS OF FACT.  The parties to these proceedings have stipulated the following to be the facts: That Herbert T. Shannon and Mortion J. Luchs were until February 24, 1924, and for several years prior thereto, members of the partnership of Shannon &amp; Luchs, a real estate firm located in Washington, D.C.  The partnership books were kept on a fiscal year basis ending the last day of February in each year.  The petitioners filed their individual income-tax returns, including the returns for the calendar year 1924, on the calendar year basis. *2361  In their returns for the calendar year 1924 the petitioners each reported, in addition to other income, the amount of $58,960.86 as his distributive share of the net income of the partnership of Shannon &amp; Luchs for the fiscal year ended February 29, 1924.  Upon audit by the respondent the distributive share of the partnership profits of each petitioner has been increased to $60,220.62 for the fiscal year ended February 29, 1924, and no issue has been raised in these appeals relative to this increase in the taxable income.  *641  The respondent has computed a tax on the basis of rates applicable to 1923 on five-sixths of the distributive share of the profits and at rates applicable to the year 1924 on one-sixth of such profits.  In computing the income tax of these petitioners for the year 1924 the respondent has not allowed as a credit a reduction of 25 per cent provided by Title XII of the Revenue Act of 1924 on income deemed to have been earned in 1923 by the partnership for its fiscal year ended February 29, 1924.  OPINION.  BLACK: The facts in this proceeding and the question involved are identical with the facts and the question in the case of *2362 . On the authority of the decision in that case the issue must be resolved in favor of the respondent.  See also , and the cases cited therein. Judgment will be entered for the respondent.